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 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                       )   CASE NO. 19-CR-188 SI
                                                     )
14           Plaintiff,                              )   UNITED STATES’ APPLICATION AND
                                                     )   [PROPOSED] ORDER TO UNSEAL REMAINDER
15      v.                                           )   OF DOCKET
                                                     )
16   MANUEL AVILA CAMACHO and                        )
     CARLOS JAUREGUI,                                )
17                                                   )
             Defendants.                             )
18
19           On September 1, 2019, this Court entered an order unsealing the above-captioned matter. All
20 items on the docket prior to that date were unsealed, but all subsequent items on the docket remain

21 sealed. The United States now respectfully requests that the Court unseal the Judgment as to defendant

22 Carlos Jauregui in this matter (Dkt. 140, issued July 6, 2021). Because the United States has completed

23 its investigation and Mr. Jauregui has been sentenced, it is not necessary for the Judgment to remain

24 sealed.

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     [FOOTER TITLE]                                 1
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 1 DATED: February 1, 2023                                   Respectfully submitted,

 2                                                           STEPHANIE M. HINDS
                                                             United States Attorney
 3

 4                                                           /s/ Alexandra Shepard
                                                             ________________________
 5                                                           ALEXANDRA SHEPARD
                                                             Assistant United States Attorney
 6

 7

 8                                        [PROPOSED] ORDER

 9         On the motion of the United States, and for good cause, the Court HEREBY ORDERS that the

10 Judgment (Dkt. 140) in the above-captioned matter be unsealed.

11         IT IS SO ORDERED.

12
     DATED: February ___,
                       1 2023
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                                                             ________________________
14                                                           HON. SUSAN ILLSTON
                                                             Senior U.S. District Court Judge
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     [FOOTER TITLE]                               2
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